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             EXHIBIT 1
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 1   LEVI & KORSINSKY, LLP
     Adam M. Apton (SBN 316506)
 2   Adam C. McCall (SBN 302130)
     388 Market Street, Suite 1300
 3   San Francisco, CA 94111
 4   Tel.: (415) 373-1671
     Email: aapton@zlk.com
 5           amccall@zlk.com

 6   Attorneys for Class Representative and Class Counsel
 7   [Additional Counsel on Signature Block]
 8

 9                              UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12   IN RE TESLA, INC. SECURITIES                       Case No. 3:18-cv-04865-EMC
     LITIGATION
13                                                      Class Action
14
                                                        NOTICE PLAN
15

16          Class Representative Glen Littleton proposes the following notice plan in the matter In re

17   Tesla, Inc. Securities Litigation, Case No. 3:18-cv-04865-EMC (N.D. Cal.) (the “Action”):

18          1.      Consistent with the United States District Court for the Northern District of

19   California’s Procedural Guidance for Class Action Settlements, Class Counsel on behalf of the

20   Class Representative requested and received proposals from three (3) well-known class action

21   administrators. Class Counsel’s requests for proposals specified basic assumptions for the

22   anticipated notice plan, including the estimated number of notices to be sent by U.S. mail,

23   publication of summary notices, and maintenance of a website and dedicated interactive voice

24   response telephone line. The proposals received in response provided estimated costs associated

25   with these assumptions and an overall budget, including additional fees and expenses, to execute

26   the notice plan. The overall budgets ranged from $590,000 to $685,000 (exclusive of all fees and

27   expenses with broker solicitation).

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 1          2.      Class Counsel reviewed the proposals they received and selected the firm of JND

 2   Legal Administration (the “Notice Administrator”) as their proposed administrator for the Action.

 3   The Notice Administrator is a recognized leader in legal administration services for class actions,

 4   including legal notice programs, throughout the country. Its staff consists of experienced

 5   personnel with substantial experience in securities class actions, IT specialists and various other

 6   professionals with substantial experience in notice and claims administration. A copy of the

 7   Notice Administrator’s resume is attached hereto as Exhibit A.

 8          3.      Class Counsel has retained the Notice Administrator in the past to assist with

 9   settlement and claims administration in securities class action lawsuits. These engagements date

10   back to 2017. Class Counsel has retained the Notice Administrator for claims administration

11   services on four occasions since that time.

12          4.      Provided the Court approves Class Counsel’s selection of the Notice

13   Administrator, the notice plan will proceed as follows:

14                  a. For members of the Class who purchased common stock, Tesla has produced,

15                      in Excel format, a list of Tesla’s holders of record (consisting of registered

16                      shareholder names and addresses) as of August 7, 2018 and August 17, 2018

17                      (TESLA_LITTLETON_00006488, TESLA_LITTLETON_00006489). The

18                      Notice Administrator shall compile a list of names and addresses of potential

19                      Class Members as they appear in Tesla’s shareholder records for mailing. For

20                      the avoidance of doubt, nothing herein obligates Defendants to obtain or

21                      provide information sufficient to identify beneficial owners associated with the

22                      shares held by any record holder.

23                  b. For members of the Class who transacted in United States exchange-listed

24                      options on Tesla common stock (“Exchange-listed Options”) during the period

25                      of August 7, 2018 – August 17, 2018, inclusive (the “Class Period”), Plaintiff

26                      shall issue subpoenas to the Option Clearing Corporation (the “OCC”) and/or

27                      the exchanges on which the Exchange-listed Options traded (the

28                      “Exchanges”). These subpoenas would seek: (i) the identities, addresses, and
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 1                     email addresses for the persons that held or transacted Exchange-listed Options

 2                     at any time during the Class Period; and (ii) the identities of the broker/dealers

 3                     who submitted orders to the Exchanges on the Exchange-listed Options that

 4                     were transacted during the Class Period.

 5                  c. For members of the Class who purchased notes or bonds issued by Tesla,

 6                     (collectively, “Tesla Bonds”) during the Class Period, Plaintiff shall issue a

 7                     subpoena to the Financial Industry Regulatory Authority (“FINRA”)1 that

 8                     requests information concerning: (i) any trade in Tesla Bonds during the Class

 9                     Period; (ii) the identities of any persons, brokers, dealers, or intermediaries

10                     involved in such trades; and/or (iii) the contact information for such persons,

11                     brokers, dealers, or intermediaries. Additional subpoenas may be issued to any

12                     brokers, dealers, or intermediaries identified in the responsive documents

13                     received from FINRA. The subpoenas issued to these brokers, dealers, or

14                     intermediaries would seek: (i) the identities, addresses, and email addresses for

15                     any persons that held or transacted in Tesla Bonds at any time during the Class

16                     Period; and (ii) the contact information for such persons. The information

17                     received from these subpoenas will also be supplemented by: (i) identifying

18                     any persons who may have held Tesla Bonds during the relevant time period

19                     by reviewing public filings with the United States Securities and Exchange

20                     Commission (“SEC”) and (ii) any proprietary lists maintained by the Notice

21                     Administrator.

22          5.      The Notice Administrator shall distribute the Postcard Notice of Pendency of Class

23   Action (“Postcard Notice”), substantially in the form attached hereto as Exhibit B, as follows.

24
     1
25    FINRA maintains the Trade Reporting and Compliance Engine (“TRACE”) which is a “FINRA-
     developed vehicle that facilitates the mandatory reporting of over-the-counter transactions in
26   eligible fixed income securities.” The Financial Industry Regulatory Authority, Trade Reporting
     and Compliance Engine (TRACE), FINRA.org, https://www.finra.org/filing-reporting/trace (last
27   visited Jan. 13, 2021). Per FINRA, all broker-dealers who are also FINRA member firms are
     obligated to report transactions in TRACE-eligible securities under an SEC-approved set of rules.
28   See id.
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 1   Such Postcard Notice shall be distributed through the United States mail to all members of the

 2   Class for whom a mailing address is available; the Postcard Notice may be distributed through

 3   electronic means only to those members of the Class for whom a mailing address is unavailable

 4   or have previously requested communication via electronic means.

 5                 a. For members of the Class who purchased Tesla common stock, not later than

 6                     thirty (30) calendar days from the date of entry of a Court order authorizing

 7                     this notice plan, the Notice Administrator shall begin sending the Postcard

 8                     Notice through the United States mail, by first-class mail, postage prepaid, to

 9                     each person and entity identified in the records provided by Tesla pursuant to

10                     paragraph 4(a) above or who may otherwise be identified by the Notice

11                     Administrator with reasonable effort. The date on which this mailing is

12                     postmarked is referred to herein as the “Notice Date.” If this mailing is

13                     postmarked on multiple dates, the Notice Date shall be the earliest of those

14                     dates.

15                 b. For members of the Class who transacted in Exchange-listed Options, the

16                     Notice Administrator shall distribute the Postcard Notice by: (i) by directly

17                     distributing the Postcard Notice to the persons that transacted or held

18                     Exchange-listed Options using the information received in response to the

19                     subpoenas described in paragraph 4(b) above; and (ii) relying on the

20                     broker/dealers identified in the information received in response to the

21                     subpoenas by either (a) providing the broker-dealer with a sufficient number

22                     of copies of the Postcard Notice for the broker/dealer to mail directly to the all

23                     persons that held or transacted in the Exchange-listed Options during the Class

24                     Period; or (b) receiving the names, addresses, and email addresses for the

25                     persons that held or transacted in the Exchange-listed Options during the Class

26                     Period, from the broker/dealers so that the Notice Administrator can distribute

27                     the Postcard Notice directly to these persons. Additionally, the Notice

28                     Administrator would also rely upon its own proprietary list of broker-dealers
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 1                      to distribute the Postcard Notice to investors that transacted in options on Tesla

 2                      common stock in the same manner detailed immediately above.

 3                  c. For members of the Class who purchased Tesla Bonds, the Notice

 4                      Administrator would distribute the Postcard Notice by: (i) by directly

 5                      distributing the Postcard Notice to the persons that transacted or held Tesla

 6                      Bonds using the information received in response to the subpoenas; (ii) relying

 7                      on the brokers, dealers or other intermediaries identified in the information

 8                      received in response to the subpoenas by either (a) providing the broker, dealer,

 9                      or intermediary with a sufficient number of copies of the Postcard Notice for

10                      it to directly mail the Postcard Notice to all persons that transacted in Tesla

11                      Bonds during the Class Period; or (b) receiving from the broker, dealer, or

12                      intermediary the names, addresses, and email addresses for the persons that

13                      transacted in the Tesla Bonds during the Class Period, to enable the Notice

14                      Administrator to distribute the Postcard Notice directly to these persons.

15                      Additionally, the Notice Administrator will also distribute the Postcard Notice

16                      to: (i) the persons identified from the publicly-available SEC filings that were

17                      identified as likely holders of Tesla Bonds during the Class Period; and (ii) any

18                      proprietary lists maintained by the Notice Administrator that it believes would

19                      identify persons that may have transacted in Tesla Bonds during the Class

20                      Period. The persons or entities identified by the Notice Administrator from the

21                      SEC filings and its proprietary lists would be issued a Postcard Notice in the

22                      same manner as detailed above.

23          6.      The Notice Administrator shall use reasonable efforts to give notice to nominee

24   purchasers such as brokerage firms, banks, institutions, investment funds, investment companies,

25   investment advisors, investment portfolios, mutual fund trusts, mutual investment funds,

26   investment managers and any other persons or entities who are or who claim to be nominees that

27   purchased or otherwise acquired the securities of Tesla for the benefit of another person during

28   the Class Period. Such nominees shall be requested to either: (a) within ten (10) calendar days of
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 1   receipt of the Postcard Notice, request from the Notice Administrator sufficient copies of the

 2   Postcard Notice to mail to all such beneficial owners of Tesla securities and, within ten (10)

 3   calendar days of receipt of those Postcard Notices, send the Postcard Notice to all such beneficial

 4   owners; or (b) send a list of the names and addresses of such beneficial owners to the Notice

 5   Administrator within ten (10) calendar days thereof, in which case the Notice Administrator shall

 6   promptly mail the Postcard Notice to such beneficial owners. Nominees who elect to send the

 7   Postcard Notice to their beneficial owners directly shall also be requested to send a statement to

 8   the Notice Administrator confirming that the mailing was made and shall be requested to retain

 9   their mailing records for use in connection with any further notices that may be provided in the

10   Action. Upon full and timely compliance with these directions, such nominees may seek

11   reimbursement from the Notice Administrator of their reasonable expenses actually incurred (but

12   not to exceed $0.50 per mailing, including postage) by providing the Notice Administrator with

13   proper documentation supporting the expenses for which reimbursement is sought. Payment of

14   broker reimbursements requests shall not be required until the earlier of dismissal of the action or

15   settlement or verdict has been achieved. Any disputes with respect to the reasonableness or

16   documentation of expenses incurred shall be subject to review by the Court.

17          7.      Contemporaneously with the mailing of the Postcard Notice, the Administrator

18   shall cause a copy of the Notice of Pendency of Class Action (“Notice”), substantially in the form

19   attached hereto as Exhibit C, to be posted on the website designated for this Action from which

20   Class Members may download copies of the Notice.

21          8.      The Notice Administrator shall cause to be published on one occasion in the

22   national addition of The Wall Street Journal and Investor’s Business Daily the Summary Notice,

23   substantially in the form attached hereto as Exhibit D, not later than fourteen (14) calendar days

24   after the Notice Date, which will give those who did not receive a copy of the Notice by mail an

25   opportunity to request it and to protect their rights in this Action.

26          9.      The Notice shall provide an address for the purpose of receiving requests for

27   exclusion from the Class. A Class Member wishing to make such a request shall mail the request

28   in written form by first class mail, postmarked no later than 110 calendar days from the Notice
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 1   Date, to the address designated in the Notice. Such request for exclusion shall clearly state that

 2   the Class Member requests exclusion from the Class in In Re Tesla, Inc. Securities Litigation,

 3   Case No. 3:18-cv-04865-EMC (N.D. Cal.), and must: (i) state the name, address, and telephone

 4   number of the person or entity requesting exclusion; (ii) state the type and amount of Tesla

 5   securities that the person or entity requesting exclusion purchased/acquired or sold during the

 6   Class Period, as well as the dates and prices of each such purchase/acquisition or sale; and (iii) be

 7   signed by the person or entity requesting exclusion or an authorized representative. The request

 8   for exclusion shall not be effective unless it provides the required information and is made within

 9   the time stated above, unless the Court makes an exception.

10           10.     Defendants do not waive any of their rights in this Action, which could include

11   moving to de-certify the Class, in whole or in part, or seeking the exclusion from the Class of

12   certain entities or individuals at a later date.

13           11.     Within fifteen (15) calendar days after the expiration of the deadline for requesting

14   exclusion from the Class, Court-appointed Class Counsel shall file with the Court a declaration

15   containing proof of mailing of the Postcard Notice and publication of the Summary Notice, and

16   setting forth a list of all persons and entities who have requested exclusion from the Class and

17   serve copies of the same on all parties.

18           12.     Any Class Member who retains separate counsel in connection with this matter

19   must enter an appearance pursuant to Rule 23(c)(2) of the Federal Rules of Civil Procedure, as

20   set out in the Notice, no later than ninety (90) calendar days after the date of entry of an Order

21   authorizing this notice plan.

22           13.     The costs of the notice process shall be borne by Class Counsel who may seek

23   reimbursement by order of the Court at a later date.

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     Dated: May 6, 2021                  Respectfully submitted,
 1

 2                                       LEVI & KORSINSKY, LLP

 3                                        s/ Adam M. Apton                    .
                                         Adam M. Apton (SBN 316506)
 4                                       Adam C. McCall (SBN 302130)
                                         388 Market Street, Suite 1300
 5
                                         San Francisco, CA 94111
 6                                       Tel.: (415) 373-1671
                                         Email: aapton@zlk.com
 7                                       Email: amccall@zlk.com

 8                                               -and-
 9
                                         Nicholas I. Porritt
10                                       Alexander A. Krot III
                                         LEVI & KORSINSKY, LLP
11                                       1101 30th Street N.W., Suite 115
                                         Washington, D.C. 20007
12                                       Tel.: (202) 524-4290
                                         Email: nporritt@zlk.com
13
                                         Email: akrot@zlk.com
14                                       (admitted pro hac vice)

15                                               -and-
16                                       Joseph Levi
17                                       Eduard Korsinsky
                                         LEVI & KORSINSKY, LLP
18                                       55 Broadway, 10th Floor
                                         New York, New York 10006
19                                       Tel.: (212) 363-7500
                                         Fax: (212) 363-7171
20                                       Email: jlevi@zlk.com
21                                       Email: ek@zlk.com
                                         (admitted pro hac vice)
22
                                         Attorneys for Class Representative
23                                       and Class Counsel
24

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